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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:06CR3027-3
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
RUBEN DARIO NUNEZ,                            )
                                              )
                     Defendant.               )


       IT IS ORDERED that the defendant’s sentencing is set on Wednesday, September 19,
2007, at 2:00 p.m., before the undersigned United States district judge, in Courtroom No. 1,
at the Robert V. Denney Federal Building and United States Courthouse, in Lincoln,
Nebraska. Since this is a criminal case, the defendant shall be present unless excused by the
court.

       September 13, 2007.                BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
